                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,


                          Plaintiffs,
   v.


   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD        Civil Action No. 3:17-cv-00072-NKM
   AMERICA, ANDREW ANGLIN,
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,


                          Defendants.

   SUPPLEMENT TO MOTION FOR SANCTIONS AGAINST DEFENDANTS ELLIOT
           KLINE A/K/A ELI MOSLEY AND MATTHEW HEIMBACH




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         On April 3, 2019, Plaintiffs filed a Motion for Sanctions against Defendants Elliot Kline

  and Matthew Heimbach, noting, among other things, the flagrant disrespect Defendant Heimbach

  shows the judicial process by continuing to comment actively on social media from the very

  accounts he refuses to disclose in this litigation. (ECF No. 457.) As if on cue, shortly after the

  motion was submitted, Defendant Heimbach posted another disturbing message on Twitter, which

  Plaintiffs seek to submit as an additional exhibit to the recently filed motion. Heimbach’s tweet

  concerned a story reported by various outlets that a distinctive white power symbol specifically

  promoted by Heimbach was discovered at the scene of a recent arson attack on a Tennessee civil

  rights center, known for its connection to Dr. Martin Luther King, Jr. Heimbach retweeted the

  story, sharing it with his followers, while appending his own sarcastic caption: “Well, this is

  awkward.” (Ex. 27 (Heimbach Tweet).) This is further evidence of Heimbach’s bad faith, as he

  continues to use his computer and/or smart phone to publicly speak about racially-motivated

  violence while at the same time ignoring his discovery obligations and the orders of this Court.

  Plaintiffs respectfully request that the attached exhibit be incorporated into our Motion for

  Sanctions against Defendants Kline and Heimbach and that the Court order the requested relief.




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  Dated: April 5, 2019                      Respectfully submitted,

                                                   /s/
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 5, 2019, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                           Lisa M. Lorish
   David L. Hauck                                    Federal Public Defenders Office
   David L. Campbell                                 Western District of Virginia - Charlottesville
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                                                     Damigo, Identity Europa, Inc. (Identity
   Counsel for Defendant Richard Spencer             Evropa), and Christopher Cantwell

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   Counsel for Jeff Schoep, Nationalist Front,
   and National Socialist Movement




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          I further hereby certify that on April 5, 2019, I also served the following non-ECF
  participants, via U.S. mail, First Class and postage prepaid, addressed as follows:


   Loyal White Knights of the Ku Klux Klan          Moonbase Holdings, LLC
   a/k/a : Loyal White Knights Church of            c/o Andrew Anglin
   the Invisible Empire, Inc.                       P.O. Box 208
   c/o Chris and Amanda Barker                      Worthington, OH 43085
   2634 U.S. HWY 158 E
   Yanceyville, NC 27379


   Andrew Anglin                                    East Coast Knights of the Ku Klux Klan
   P.O. Box 208                                     a/k/a East Coast Knights of the
   Worthington, OH 43085                            True Invisible Empire
                                                    26 South Pine St.
                                                    Red Lion, PA 17356

   Fraternal Order of the Alt-Knights               Augustus Sol Invictus
   c/o Kyle Chapman                                 9823 4th Avenue
   52 Lycett Circle                                 Orlando, FL 32824
   Daly City, CA 94015



          I further hereby certify that on April 5, 2019, I also served the following non-ECF
   participants, via electronic mail, as follows:

   Elliot Kline                                     Matthew Heimbach
   eli.f.mosley@gmail.com                           matthew.w.heimbach@gmail.com




                                                       /s/
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP

                                                       Counsel for Plaintiffs




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